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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION
UNITED STATES OF AMERICA

       VS                                                      CASE NO.   3:94cr3067/RV

DIANNE WILLIAMSON SMITH

                                    REFERRAL AND ORDER

Referred to Judge Vinson on         03/02/2005
Type of Motion/Pleading MOTION UNDER 18 USC 3582(C)(2)
Filed by: Defendant Smith        on 1/24/05      Doc. No. 320
( ) Stipulated/Consented/Joint Pleading
RESPONSES:
None                             on              Doc. No.
                                 on              Doc. No.
                                 WILLIAM M. McCOOL, CLERK OF COURT

                                               /s/ V. Harmon
                                               Deputy Clerk

                                               ORDER
Upon consideration of the foregoing, it is ORDERED this                    8th    day of
 June                      , 2005, that:
(a) The requested relief is DENIED.
(b)




                                               /s/ Roger Vinson
                                               ROGER VINSON
                                               SENIOR UNITED STATES DISTRICT JUDGE




Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                                Document No.
